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To: Ricardo Alvarado

From: Phil Lomonaco

Re: Motion and notice to respond

Date: June 28, 2022



Hello Ricardo,

I understand you have been transferred out of Kentucky.

Maria has told me you may be out of Ocilla as soon as June 29th. I need to show the 6th Circuit Court of
Appeals that you know I am filing to withdraw as your attorney for appeal. We talked about it and I am
sure you are ok with that but, I did not send you a copy of the motion to withdraw, so here it is. I am
going to send all of these documents to the 6th Circuit to make sure they know that you know.
As one of the enclosed documents states, you have 14 days from the day you receive all of this to file a
response to my motion to withdraw. If you have any questions, you know you can call me anytime and
if you have a hard time getting me, have Maria call or text if you or she has any questions.
After you have received this letter and the motion with the email from the 6th circuit, I will let them
know you received it. Please call me or have Maria call me and let me know that you got it. Also, send
me a letter when you get to the fed prison where you will do your time.
Take care, I hope and pray that you will do well and your family will stay safe.
Phil
